                                              UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF CALIFORNIA


             TAKE-TWO INTERACTIVE SOFTWARE, INC.                    Case No. 3:21-cv-6831-TSH
                              Plaintiff(s),
                                                                    CONSENT OR DECLINATION
                        v.
                                                                    TO MAGISTRATE JUDGE
                                                                    JURISDICTION
             ANGELO PAPENHOFF, a/k/a AAP, an individual, et al.

                              Defendant(s).


             INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you
             are the party) or the party you represent (if you are an attorney in the case) choose(s) to consent
             or decline to magistrate judge jurisdiction in this matter. Sign this form below your selection.

                       CONSENT to Magistrate Judge Jurisdiction

                    In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
             United States magistrate judge conduct all further proceedings in this case, including trial and
             entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
             United States Court of Appeals for the Ninth Circuit.

                    OR

                       DECLINE Magistrate Judge Jurisdiction

                    In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
             magistrate judge conduct all further proceedings in this case and I hereby request that this case be
             reassigned to a United States district judge.

              DATE: September 16          , 2021                  NAME: Mark C. Humphrey

                                                                         /s/ Mark C. Humphrey
                                                                                        Signature
                                                       COUNSEL FOR
                               (OR “PRO SE”): Plaintiff Take Two Interactive Software, Inc.




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